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  9                       UNITED STATES DISTRICT COURT
 10                     CENTRAL DISTRICT OF CALIFORNIA
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 12   Delmy Franco,                          Case No. 2:23-cv-09966-JLS-MAR
 13               Plaintiff,                 ORDER DISMISSING ENTIRE
 14                                          ACTION WITH PREJUDICE
            v.
 15
      Midland Funding, LLC;
 16   Midland Credit Management, Inc.,
 17               Defendant.
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Case 2:23-cv-09966-JLS-MAR Document 23 Filed 06/07/24 Page 2 of 2 Page ID #:84



  1        Pursuant to the Parties’ stipulation (Doc. 22) and Federal Rule of Civil Procedure
  2 41(a)(1), Plaintiff’s claims against Defendant Midland Funding, LLC and Defendant
  3 Midland Credit Management, Inc. are dismissed with prejudice. Each party shall bear
  4 its own attorney’s fees and costs.
  5
  6        IT IS SO ORDERED.
  7
  8 DATED: June 7, 2024
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  9                                        HON. JOSEPHINE L. STATON
 10                                        UNITED STATES DISTRICT JUDGE

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